 

,,,‘ Case 7:18-mj-01149 Document1-1 Filed in TXSD On 06/01118 F>aue 1 of 5
UyS S.DIST.RICl COURT

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G;E.'§e 3 18 cr~00232 K*SEALE_D* B@c;am?m§~ _=. l
IL\ITHEUNITED STATES 1315ch cQUéT ` § 'MAY ~8 2_0!8 _
- _ FOR THE NORTHE:RN DISTRICT O`F_ TEXAS ;__;_= _
‘ . ' _ DALLAS DIVISION § CLBL§§;; US mg C_ COURT
UNITED STATES 011 AMERICA ’ 210 311 FHJED`M
V. § _‘ __ NO.
' MARIO AL_CQCER 111 (1) . ~ ` ' m l
‘ A.K-.A.“JUNIGR”_' v ._` - g ES€R ` 32~_' .
'.~ROBERT BRAUN'@) _ _ _ ' .
_ A.K.A. “coWBoY’" __, rm (jj
FLORENTH\TO.€ARDOSO(3) _ {\'\`1 3 \| %q
VENUSTIANQ cARDOSo'(4)' '
A.§.A. “VENU .

FNU LNU (6) A. 1<:. A “cANAS”, _
. A 1_<. A. LUIS D_EJESUS RODRIGUEZ
~ RICARDG GARCIA~MARTR~IEZ (7)
JOSE ALONSO GARZA (8)" ' --
sAMUEL GOMEZ (9)
, A-.`K..A “sANTlAGO” _
111___10 HERNANDEZ“REYES (10)

 

 

. RGMAN MoRALES-SANC_HEZ (12)
SA_MUEL LOPEZ MURILLO, (13)~
A.K.A. “SA-l\my”’- -
JoRGE LUIS OCHOA (_14)

ISRAEL RA'MOS~ SERNA (15) .
JUAN FRANCISCO RODRIGUEZ (16.)

' DETONTE SPEARMAN (17)
~ A.K.A. f‘PAPA”
ALDO mLANEUvA, (1_ 8)
A_.K.A. “CH[VA” .

 

SEALEDINDICTMENT ~ `
The'Grand J111'y Charges:- l

' Count One
Conspiracy to Possess With Intent to Distlibute `and Distribution
of a Schedule II_ Controlle_d Substance `
(Violation of.?.l U. S. C. § 846)

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" base 3:1£_3 cr~00232~K *SEALED* Document l 1’¢SEALED_* Filed 05/08/18 Page 2 of 7 Pag_elD 2

Com'mencing on or about May 2, 2017, the exact date being unknown to the `Grand v

, Jury, and continuing through the date of-indictnaent, in the 'Dallas Dii}ision of :the
Northern_District of Texa's and ielseWhere, Mario Alcocer Jr., a~.k.a. “Junior”;`_Rober_t
Braun, a.k.a._-“(jot$rboy”;` Flor-entino Ca`rdoso; Venustiano Cardo_so, a.k.a. “_`tlenus.’?';
Ric_ardo Garcia~Martinez; Jose Alonso Garza; Samuel domez, a.k.a. “Santiago”; -

l Rito Hernandez~Reyes; 4 FNU ‘
LNU, a.k. a. “Canas”, a. k. a Luis' Dejes`u`s Rodriguez; Romau Morales~}§anchez;

'- SalI'luel Lopez Muri]lo, a.k.a. .“Saminy”; Jorge Luis, Ochoa; ]lsrael RamoS-Serna; .
Juan Fljanci`sco Rodriguez; Detonte_ Spearinan, a.k. a. “Papa”; and, Aldo Villane_uva, '
a. k. a. “Chiva”; defendants herein, did intentionally and knowingly conlbine, conspire, l
confederate, and agree together and With each other and with other persons known and
unknown to the Grand Iury, to- possess With intent to distribute an_d distribute five
hundred grants or more o_f a mixture and substance containing a detectable amount of
cocaine, a Sc_hedule ']I controlled substance.. v d

In Violat:ionl ot`21_ U.S.C. § 846,_the penalty for Which is_ found at 21 U.S.C. § , '

841~@)<.1)<13)`.

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_ Counts Two through Nineteen
Possession with Intent to Distribute a Controlled Substanoe

mention 0121 U.s.o. § 841@)(1)(€)]

. On or about the dates listed below, in the Da]las DiVision oi" the Northe_rn Distr'ict

of Texas and elsewhere, the defendants listed below, knowingly possessed with intent to

distribute a mixture or substance containing a detectable amount of cocaine, a Schedule ll

controlled Substance, in winston 0121»U.s.c. § 841(3)(1) & '(b)(i)(c).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

v_ _-,. ` . _1_'_['!... _, -_= ng=_._,é_& ~ q~~ --1"_::“3' ;~“?`~`-` _:“
2 Mario Alcocer Jr., a.l<;.a. “.Tunior” May 6, 2017
3 Robert Braun, a.k.a. “Cowboy” September 5, 2017
-4 Venustiano Cardoso, a.lc.a. _“Venus” July 5, 2017
5 Florentino Cardoso May 29, 2017
6 Ricardo Garcia~Martinez ]u;`ly 9, 2017
7 ' lose Alonso Garza` May 4, 2017
' 8 ' Sarnuel Gomez, a.l<.a. “Santiago” May-29, 2017
9 Rito Hemandez-Reye_s _ ' lune 29,2017
10 f` September 14 - 18, 2017-
' 1-1 ill September 1, 2017 '
12 Roman Morales~Sanchez ' ' September 2, 2017
13 cScamuel L,opez Murillo, a.k.a. M'aygg, 2017
Sammy’
14 lorge Luis Oohoa September 5, 2017
15 ' Israe1 Ramos-Serna luly 2, 2017
16 .Tua.n Francisco Rodriguez November 3, 2017
17 FNU LNU, a.k.a. “Canas”5
. a.l<:.a. “Luis Dejesus Rodriguez” ' -`Tuly 5’ 2017
18 Detonte Spearman, a.k.a. “Papa” `.Tune 6, 201-7
19 Aldo Villaneuva, a.k.a.” Chiva” May_ 6, 2017

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_ Forfeiture Allegation
[21 U.S.C. § 85_3(a)]

Upon conviction for the offense alleged 111 Count One through 19 o_f this
ludictrnent and pursuant to 21 U. S. C. § 853(a), defendants Mario Alcocer J_r., a k. a.
“Junior”; Robert Braun, a.k.a. “Cowboy”; Florentin`o C_ardoso; Venustiano
Cardoso, a.k. a. “Venus”; Ricardo Garc_ia~Martinez; Jose Alonso Garza; Samuel
Gomez, a.k. a. “Santiago”; Rito Hernandez.-Reyes;_," ~ n ' - 7 3

;FNU LNU, a. k. a. “Canas”, a. k. a. “Luis Dejesus Rodriguez”; Roman
Morales-Sanchez; S_amuel Lopez Murillo, a.k.a. “Samm ”; .101'ge Luis OChoa; 1srae1
d Rainos-Serna; Juan Francisco Rodriguea; Detonte Spearlnan, a.k.,a. ‘_‘Papa”; and,
Ald‘o Vi]laneuva, a.k.a. “Chiva”; shall forfeit to the limited States of America any.
r)rop erty constituting or derived from proceeds obtained,’ directly or indirectly, as a result
of the offense and any property used, or intended to be used, in any manner or part, to

commit or to facilitate the commission of the offense

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